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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

WAYNE LABOEUF                       *
                                    *
                  Plaintiff,        *                 Civil Action No.: 16-CV-12419 L(1)
                                    *
versus                              *                 Judge: ELDON E. FALLON
                                    *
JANSSEN PHARMACEUTICALS,            *                 Magistrate Judge: SALLY SHUSHAN
INC., ET AL.,                       *
                  Defendants.       *
                                    *
*************************************




                       MEMORANDUM IN SUPPORT OF MOTION TO
                         WITHDRAW AS COUNSEL OF RECORD

       MAY IT PLEASE THIS HONORABLE COURT:

       Undersigned counsel has advised plaintiff, Wayne LaBoeuf, of his intent to withdraw as

counsel of record on his behalf and the plaintiff has voiced no objection to same. Plaintiff’s last

known address is P.O. Box 315, Montegut, LA 70377 and phone number (985)-594-5661.

Plaintiff, Wayne LeBouef, has been notified of all deadlines and pending court appearances via

certified USPS mail.

       For this reason, plaintiff respectfully requests this Honorable Court allow John D. Sileo,

Casey W. Moll and John D. Sileo, LLC to withdraw as counsel of record.




                                              Respectfully submitted,

                                              _/s/ JOHN D. SILEO
                                              JOHN D. SILEO, (LA. BAR NO.: 17797)
                                              CASEY W. MOLL (LA. BAR NO.: 35925)
                                              320 North Carrollton Avenue, Suite 101
                                              New Orleans, Louisiana 70119
                                              TELE: (504) 486-4343
                                              FAX: (504) 297-1249
                                              ATTORNEYS FOR PLAINTIFF
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                             CERTIFICATE OF CONFERENCE

       Pursuant to Federal Rule of Civil Procedure 15 and Rule 7.6 of the Local Rules of the

United States District Court for the Eastern District of Louisiana, I hereby aver that counsel for

Plaintiff has conferred with counsel for Defendants, and counsel for Defendant has no objection

to the request for John D. Sileo and John D. Sileo, LLC to be withdraw as counsel of record for

plaintiff, Wayne LaBoeuf.

                                             /s/ John D. Sileo
                                             John D. Sileo
                                             Casey W. Moll




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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 4, 2017, I have electronically filed notice of the foregoing

with the Clerk of the Court using the ECF-Pacer system and served a copy of the foregoing by

electronic filing and/or by placing a copy of same in the United State mail, properly addressed and

first-class postage prepaid. I hereby certify that Plaintiff, Wayne LeBouef, has been notified of

all deadlines and pending court appearances via certified USPS mail.



John D. Sileo, Esq.
Casey W. Moll, Esq.
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ATTORNEY FOR PLAINTIFF




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